Case: 2:23-cv-00512-SDM-EPD Doc #: 74 Filed: 05/02/23 Page: 1 of 15 PAGEID #: 560




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

                                              :
Root, Inc., et al.,                           :       Case No. 2:23-cv-512
                                              :
                  Plaintiffs,                 :       Judge Sarah D. Morrison
                                              :
        v.                                    :       Magistrate Judge Chelsey M. Vascura
                                              :
Silver, et al.,                               :       EVIDENTIARY HEARING REQUESTED
                                              :
                  Defendants.                 :

                                 MOTION FOR CONTEMPT

        Pursuant to 18 U.S.C. § 401(3) and this Court’s inherent authority, Plaintiffs Root, Inc.,

Caret Holdings, Inc., and Root Insurance Agency, LLC (collectively, “Plaintiffs” or “Root”)

respectfully move for an order holding Defendant Brinson Caleb “BC” Silver (“Silver”) and his

company, Defendant Eclipse Home Design, LLC (“Eclipse”) (together, “Defendants”), in

contempt for violating the Court’s February 27, 2023 Preliminary Injunction Order (“Order”) (ECF

No. 42).     The Order expressly prohibits Silver and entities he controls from disposing or

transferring assets in amounts greater than $7,500 and $5,000 per month, respectively.

Nevertheless, bank account information obtained in discovery revealed that hundreds of thousands

of dollars have been paid or transferred from Silver-controlled accounts over the past two months

and while Silver was prohibited by this Court from spending or transferring those funds.

        Without further intervention from the Court, funds will continue to be drained from Silver’s

accounts in violation of this Court’s Order. Silver, who controls these accounts and is subject to

the Court’s orders, should be held in contempt and sanctioned to force compliance with the Court’s

Order. Root further requests expedited briefing on this motion and an in-person evidentiary

hearing, requiring the personal attendance of Silver.


                                                  1
Case: 2:23-cv-00512-SDM-EPD Doc #: 74 Filed: 05/02/23 Page: 2 of 15 PAGEID #: 561




       Pursuant to S.D. of Ohio Civ. R. 7.3, Root’s counsel met and conferred with Defendants’

counsel but were unable to resolve the issues set forth herein. A memorandum in support of this

motion is attached. A proposed order is also attached.

                                            Respectfully submitted,


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                                               2
Case: 2:23-cv-00512-SDM-EPD Doc #: 74 Filed: 05/02/23 Page: 3 of 15 PAGEID #: 562




                                MEMORANDUM IN SUPPORT

        Plastic surgery, mortgages, private schooling, credit card payments, and PayPal transfers

are just some of the items that Silver and Eclipse have spent money on since this Court entered the

temporary restraining order and preliminary injunction in this case. Those orders were designed

to control Silver’s lavish lifestyle and bring some semblance of control to the spending of the funds

he plundered from Root. Regrettably, despite this Court’s spending cap, Silver managed to

squander at least $170,000 in less than 45 days. And this is only the amount that Root has thus far

discovered – who knows what else will be found? Silver and Eclipse should be held in contempt.

   I.      BACKGROUND

        This case stems from Silver’s brazen scheme to defraud Root of millions of dollars for his

and his co-conspirators’ own personal use. Anticipating that Silver would attempt to liquidate his

assets in response to this litigation, Root sought – and the Court entered – an injunction to freeze

Defendants’ assets except for normal day-to-day transactions for both Silver and the companies he

controls, totaling $7,500 and $5,000, respectively. Now, after receiving subpoena responses from

various banks, Root has discovered that transfers and expenditures throughout March, totaling

hundreds of thousands of dollars, have been made from Silver-controlled bank accounts in

violation of the Court’s Order. Consistent with the behavior that brought him to litigation, Root

believes Silver is continuing to use back-door methods of moving money between accounts and

entities and dispersing assets to unknown accounts and persons. Because of this active dissipation

of assets – which should be set aside to satisfy a judgment at the conclusion of this litigation –

Root respectfully requests the Court’s attention to these violations of the Court’s Order.

        A. The Court Issued a Temporary Restraining Order and Preliminary Injunction.

        In early February, shortly after filing the Complaint in this matter, Root learned that Silver

was attempting to sell at least one luxury home that had been originally purchased with Root’s

                                                  3
Case: 2:23-cv-00512-SDM-EPD Doc #: 74 Filed: 05/02/23 Page: 4 of 15 PAGEID #: 563




funds and that Silver had opened at least one off-shore bank account. Believing Silver was

attempting to conceal and disperse his assets, Root filed a motion for a temporary restraining order.

The Court held a hearing on Plaintiffs’ motion for temporary restraining order on February 16,

2023, which Silver’s counsel attended. That same day, pursuant to Fed. Civ. R. 65(a), the Court

entered a Temporary Restraining Order prohibiting Silver, Collateral Damage, and Eclipse from

spending assets or incurring charges in amounts greater than $5,000. (ECF No. 30, “TRO”.) The

Court also set a hearing on Root’s motion for preliminary injunction.

       In lieu of proceeding with the scheduled hearing, Defendants’ counsel and Root submitted

an Agreed Preliminary Injunction to the Court. On February 27, 2023, the Court entered the

Agreed Preliminary Injunction, which extended and slightly modified the TRO’s conditions. (ECF

No. 42, “Preliminary Injunction”.) Among other restrictions, the Preliminary Injunction provides:

              Silver shall not individually, nor through others (including but not limited
               to any entity Silver owns or controls whether in whole or part) use, convert,
               sell or otherwise dispose of any assets in his possession, custody, and
               control totaling more than $5,000 without leave of this Court. (ECF No. 42
               at ¶ 4) (emphasis added).

              Silver shall not individually, nor through others (including but not limited
               to any entity Silver owns or controls whether in whole or part), incur
               charges or cash advances on any credit card, debit card, or checking card or
               incur liens or encumbrances on real personal property or other assets,
               including intangible assets. Notwithstanding, Silver may pay personal
               expenses for day-to-day living in an amount no greater than $7,500 in
               total per month. Any amount greater than that shall require leave of this
               Court. (Id. at ¶ 5) (emphasis added).

              Collateral Damage and Eclipse shall not directly, nor through others, use,
               convert, sell or otherwise dispose of any assets in their possession, custody,
               and control totaling more than $5,000 without leave of this Court. (Id. at ¶
               6) (emphasis added).

              Collateral Damage and Eclipse shall not directly nor through others incur
               charges or cash advances on any credit card, debit card, or checking card,
               or incur liens or encumbrances on real property, personal property or other
               assets, in an amount greater than $5,000 in total per month. Any amount

                                                 4
Case: 2:23-cv-00512-SDM-EPD Doc #: 74 Filed: 05/02/23 Page: 5 of 15 PAGEID #: 564




                 greater than that shall require leave of this Court. (Id. at ¶ 7) (emphasis
                 added).

         B. Root Obtained Third-Party Discovery, Demonstrating That Silver Disregarded
            the Preliminary Injunction by Incurring Charges and Dispersing Assets.

         Thereafter, Root subpoenaed numerous third parties, including Bank of America. Bank of

America’s document production demonstrates that hundreds of thousands of dollars have been

spent or transferred from Silver controlled accounts over the past two months without leave of

Court and in violation of the Court’s Order.1 Indeed, it appears that between February 16, 2023

and March 29, 2023 Silver spent approximately $170,000 on a broad list of items including, plastic

surgery, mortgages, private schooling, credit card payments and PayPal transfers.2 Furthermore,

over $150,000 was transferred by Silver between his accounts, including an unknown account for

which Root has no records. And these only represent the accounts located by Root thus far.

Undoubtedly, there are more.

         By way of example only, the following are a few of Silver’s specific and direct violations

of the Court’s Order:

        On March 8, 2023, $21,937.59 was wired to Southwest Plastic Surgery from
         Silver’s bank account. (Silver Bank of America 6351 Statements p. 3, attached as
         Exhibit A.)

        From March 6 to March 20, 2023, $28,992.58 was disbursed from Silver’s account
         in the form of payments to credit cards, debit and checkcard withdrawals, and cash
         withdrawals. (Silver Bank of America 3853 Statements pp. 6-7, attached as
         Exhibit B.)

        On March 20, 2023, a $7,672.01 payment was made to Blackbaund Tuition
         Management, for private school tuition. (Ex. B p. 7.)

1
    Upon review of the third-party discovery responses, which include bank records for Collateral
    Damage, it appears that Silver plundered all of Collateral Damage’s assets before the Court
    issued the Order.
2
    Root has yet to receive bank records for the time periods after March 29, 2023. In light of what
    has occurred already, one can only imagine what those records will show.

                                                  5
Case: 2:23-cv-00512-SDM-EPD Doc #: 74 Filed: 05/02/23 Page: 6 of 15 PAGEID #: 565




       On March 15, 2023, three installments totaling $42,067.94 were made from
        Defendant Eclipse’s account to a company called NewRez-Shellpoint. (Eclipse
        Bank of America 3297 Statements p. 3, attached as Exhibit C.)3

Silver and his entities did not seek leave of Court for these transactions. These examples are only

a few of the problematic charges that have been incurred since the Preliminary Injunction was

issued in February.

        In addition to the direct violations of the Order, Root has strong reason to believe that Silver

is disposing of additional assets beyond what is listed in the few statements to which Root has

access. For example, from February 16, 2023 to March 29, 2023:

       $152,190.47 was received into Silver’s account from an unknown account;

       Approximately $150,000 of that money was wired to another Silver controlled
        account;

       Then, approximately $88,000 was wired from Silver’s account to an unknown
        Paypal account.

(Ex. A pp. 3-4.; Ex. B pp. 5-6.) The fact that Silver’s account received $152,000 demonstrates

that Silver has access to additional assets that Root is not aware of and that the Court cannot

monitor. Equally suspicious are the payments totaling over $88,000 to a PayPal account. In sum,

it appears that in addition to spending significant amounts of cash, other significant amounts are

being liquidated and dispersed to unknown persons and accounts from Silver’s accounts. It is very

likely that Silver made these transactions to conceal his spending from Root and this Court before

he faces judgment in this litigation, and that he will continue to do so without the Court’s

intervention.


3
  Exhibit D, attached to this Motion, is a Declaration of Bank of America Bank Officer and/or
Custodian of Records that Root’s counsel received with Bank of America’s production. Exhibit
E, attached to this Motion, is a declaration of Attorney Grace Saalman verifying Root’s counsel’s
receipt of the bank account statements and declaration from Bank of America.
                                                   6
Case: 2:23-cv-00512-SDM-EPD Doc #: 74 Filed: 05/02/23 Page: 7 of 15 PAGEID #: 566




   II.      ARGUMENT

         A. The Court Should Exercise Its Authority to Hold Silver and Eclipse in
            Contempt.

         This Court has the authority – rooted in statute and common law – to hold parties in

contempt for their violation of a court order. Pursuant to 18 U.S.C. § 401 (3), “[a] court of the

United States shall have power to punish by fine or imprisonment, or both, at its discretion, such

contempt of its authority, and none other, as . . . (3) Disobedience or resistance to its lawful writ,

process, order, rule, decree, or command.” In addition, the Sixth Circuit has long recognized that

the “power to enforce obedience . . . is a power which is inherent in all courts.”               In re

Manufacturers Trading Corp., 194 F.2d 948, 955 (6th Cir. 1952); see also Mitan v. International

Fidelity Ins. Co., 23 F. App’x 292, 298 (6th Cir. 2001) (“The federal courts’ inherent power to

protect the orderly administration of justice and to maintain the authority and dignity of the court

extends to a full range of litigation abuses.”). Indeed, “[a] court’s ability to issue injunctions, and

then enforce those injunctions with a finding of contempt, springs from the court’s inherent

equitable powers.” CFE Racing Prods v. BMF Wheels, Inc., 793 F.3d 571, 598 (6th Cir. 2016)

(quoting Innovation Ventures, LLC v. N2G Distrib., 763 F.3d 524, 544 (6th Cir. 2014)).

         To support a motion for civil contempt, a plaintiff must establish by “clear and convincing

evidence that the defendant violated a definite and specific order of the court requiring the

defendant to perform or refrain from performing a particular act or acts with knowledge of the

court’s order.” CFE Racing, 793 F.3d at 598 (quoting Rolex Watch U.S.A., Inc. v. Crowley, 74

F.3d 716, 720 (6th Cir. 1996)). “There is no requirement to show intent beyond knowledge of the

order.” Id. (citing In re Jacques, 761 F.2d 302, 306 (6th Cir. 1985)). Here, Defendants: (1) were

subject to a definite and specific order; (2) knew of the order; and (3) violated the order.




                                                  7
Case: 2:23-cv-00512-SDM-EPD Doc #: 74 Filed: 05/02/23 Page: 8 of 15 PAGEID #: 567




       First, the Court imposed a “definite and specific order” which required Defendants to

“refrain from performing a particular act.” See CFE Racing, 793 F.3d at 598. The Court ordered

that Silver was prohibited from spending, transferring, or incurring charges greater than $5,000

per month, except that he could spend up to $7,500 per month on day-to-day expenses. (Order at

3.) The Order prohibited Eclipse from spending, transferring, or incurring charges greater than

$5,000 per month. (Id. at 4.)

       Second, Silver was aware of the Court’s orders. Silver’s counsel was present at the TRO

hearing in which the Court first ordered that Silver, Collateral Damage, and Eclipse shall cease

spending more than $5,000. (See Informal Hearing Minute Entry, ECF No. 28.) Then, over the

next few weeks, Silver’s counsel worked with Root’s counsel to draft and submit the Proposed

Agreed Preliminary Injunction, which was adopted by the Court. (See Preliminary Injunction,

ECF No. 42.) Silver’s counsel received copies of the TRO and Preliminary Injunction and has

represented that he discussed each with his client. At bottom, Silver knew he was prohibited from

spending and transferring his money above the Court’s restrictions.

       Third, the evidence demonstrates that Silver appears to be violating the Court’s Order.

Silver violated the Order when more than $7,500 was spent from his accounts within a one-month

period, including a $21,000 charge for plastic surgery on March 8th and more than $28,000 in

credit card expenses in March. (Ex. A p. 3; Ex. B pp. 6-7.) In addition, Silver and, through Silver,

Eclipse, also violated the Court’s Order. Eclipse violated the Order by spending more than $5,000

without leave of Court, including its payment of $42,000 to an unknown company on March 15th.

(Ex. C p. 3.)

       Therefore, pursuant to this Court’s statutory and inherent authority, Defendants should be

held in contempt.



                                                 8
Case: 2:23-cv-00512-SDM-EPD Doc #: 74 Filed: 05/02/23 Page: 9 of 15 PAGEID #: 568




       B. The Court Should Order Appropriate Remedies to Coerce Silver’s Compliance
          with the Preliminary Injunction and Compensate Root for Its Losses.

       The purposes of imposing sanctions for civil contempt are to coerce the defendant into

complying with the court’s order and to compensate the movant for any losses sustained. United

States v. United Mine Workers, 330 U.S. 258, 303-04 (1947). In line with these objectives, Root

requests that the Court exercise its statutory and inherent authority to coerce Silver into complying

with its orders by: (1) appointing a receiver to make an accounting of the disputed assets and

safeguard the disputed assets until litigation is concluded by taking control of all of Silver’s assets

and issuing Silver a $7,500 monthly allowance; or (2) imprisoning Silver; and (3) awarding Root

attorneys’ fees and costs for this motion and other sanctions the Court deems appropriate. It is of

paramount importance that Silver’s reckless spending of Root’s funds be brought under control.

Regrettably, the Court’s temporary restraining order and preliminary injunction have had little

effect on Silver’s conscious actions. Thus, the Court must resort to more significant restrictions.

Otherwise, the assets stolen by Silver will be gone.

       1. The Court Should Appoint a Receiver to Manage Silver’s Assets and Provide Him
          a Monthly Allowance.

       Root requests the Court appoint a receiver to control Silver’s assets. Federal Rule of Civil

Procedure 66 permits courts to appoint a receiver to administer property and funds in accordance

“with the historical practice in federal courts or with a local rule.” A court-appointed receiver’s

role is to safeguard assets and administer property to in accordance with a district court’s orders.

Liberte Capital Group, LLC, 462 F.3d at 551 (quoting 13 Moore’s Federal Practice 66.02-.03 (3d

ed.1999)) (“A district court enjoys broad equitable powers to appoint a receiver over assets

disputed in litigation.”). In the Sixth Circuit, district courts are directed to consider the following

factors in deciding whether to appoint a receiver:



                                                  9
Case: 2:23-cv-00512-SDM-EPD Doc #: 74 Filed: 05/02/23 Page: 10 of 15 PAGEID #: 569




       whether the property at issue is in imminent danger of . . . being lost, concealed,
       injured, diminished in value, or squandered, whether the defendant engaged in
       fraudulent conduct, the inadequacy of the available legal remedies, the lack of less
       drastic equitable remedies, and the likelihood that the appointment will do more
       good than harm, . . . whether there is inadequate security for a debt and whether a
       debtor is insolvent.

Pension Ben. Guar. Corp. v. Evans Tempcon, Inc., 630 F. App’x 410, 414 (6th Cir. 2015) (internal

quotations omitted) (quoting 12 Charles Alan Wright, Arthur R. Miller & Richard L. Marcus,

Federal Practice and Procedure § 2983 (3d ed. 2014)).

       All of the above considerations weigh in favor of appointing a receiver in this case. Silver’s

funds are in imminent danger of being lost, concealed, squandered, and diminished in value if the

spending and transferring of funds to unknown persons and accounts continues at anywhere near

the pace of the last two months. Furthermore, the evidence in this case will demonstrate that Silver

used an affiliated entity to siphon over $10 million from Root, Silver clearly knows how to conceal

and disperse funds, and will continue to do so if those funds are not frozen or protected. There are

no adequate legal remedies once the money is gone, and appointment of a receiver will ensure that

Root will be able to recover after final judgment.

       As courts have noted, “[t]he appointment of a receiver is an especially appropriate remedy

in cases involving fraud and the possible dissipation of assets since the primary consideration in

determining whether to appoint a receiver is the necessity to protect, conserve and administer

property pending final disposition of a suit.” In re McGaughey, 24 F.3d 904, 908 (7th Cir. 1994)

(finding appointment of a receiver was prudent where the debtor had a history of fraud, tax evasion,

and asset dissipation). Indeed, this Court has previously appointed a receiver to stop defendants

from violating injunctive orders. In McGirr v. Rehme, No. 16-464, 2018 U.S. Dist. LEXIS 130673,

at *31 (S.D. Ohio Aug. 3, 2018), the court appointed a receiver where there was a history of

fraudulent transfers, ample evidence that the defendants were disposing of assets in violation of


                                                10
Case: 2:23-cv-00512-SDM-EPD Doc #: 74 Filed: 05/02/23 Page: 11 of 15 PAGEID #: 570




the temporary restraining order, and the property was “in imminent danger of being lost or

diminishing in value.” The same circumstances exist here.

       2. In Lieu of Appointing a Receiver, the Court Could Imprison Silver.

       The Court also has power to imprison Silver, especially in light of the fact that an order is

demonstrably insufficient to prevent him from dispersing assets. Imprisonment is an appropriate

remedy to prevent future violations of the Court’s Order. 18 U.S.C. § 401 (authorizing district

courts to “punish by fine or imprisonment, or both,” a defendant’s “[d]isobediance or resistance to

[a] lawful . . . order”); see United States v. Tankersley, 277 F. Supp. 2d 908, 916 (N.D. Ind. 2003)

(civil defendant imprisoned for contempt because he sold his yacht and attempted to transfer

proceeds of the sale to an off-shore account after the Court issued a preliminary injunction freezing

his assets); Singh v. Capital Univ. Law & Graduate Ctr., 6th Cir. No. 00-3244, 2000 U.S. App.

LEXIS 29134, at *1 (Nov. 7, 2000) (affirming Southern District of Ohio Court’s imprisoning a

plaintiff after he was found in civil contempt of court for refusing to perform community service

as an alternative to paying final judgment); United States v. Koubriti, 305 F. Supp. 2d 723, 741

(E.D. Mich. 2003) (noting that a court may imprison a defendant as a civil contempt sanction to

coerce him to commit an affirmative act) (citing Int’l Union, United Mine Workers of Am. v.

Bagwell, 512 U.S. 821, 828 (1994)).

       3. Root is Entitled to Monetary Sanctions, Including Attorneys’ Fees and Costs of
          Investigating Silver’s Conduct Violating the Preliminary Injunction.

       Root also requests the Court award its attorneys’ fees and costs stemming from this

contempt motion, including costs of creating and serving subpoenas on Defendants’ banks, costs

of investigating Defendants’ bank account transactions that violate the Preliminary Injunction, and

attorneys’ fees for filing this motion and attending the hearing. See Redken Labs. v. Levin, 843

F.2d 226, 230 (6th Cir. 1988) (finding a successful movant may recover attorney fees and costs in


                                                 11
Case: 2:23-cv-00512-SDM-EPD Doc #: 74 Filed: 05/02/23 Page: 12 of 15 PAGEID #: 571




connection in the contempt proceeding). Due to Silver’s willful violation of the Court’s Order,

monetary sanctions are appropriate here.

   III.      CONCLUSION

          For the foregoing reasons, Root respectfully asks the Court to grant its motion, order Silver

to attend an in-person hearing to determine the extent of Silver’s violation of this Court’s Order,

hold Silver and Eclipse in contempt, and order any other such relief as is requested herein and as

this Court deems appropriate.


                                                Respectfully submitted,

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                                                Counsel for Plaintiffs

                                                   12
Case: 2:23-cv-00512-SDM-EPD Doc #: 74 Filed: 05/02/23 Page: 13 of 15 PAGEID #: 572




                                CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing was filed electronically on

this 2nd day of May 2023 with the Clerk of Court using the CM/ECF system. Service will be

made through the Court’s CM/ECF system on all parties and attorneys so registered, and all parties

may access this filing through the Court’s system.

       A copy was also sent by regular U.S.P.S. mail and email to the following:

       Paige McDaniel
       5576 Alexanders Lake Road
       Stockbridge, GA 30281

                                             /s/ William D. Kloss, Jr.
                                             William D. Kloss, Jr. (0040854)




                                               13
Case: 2:23-cv-00512-SDM-EPD Doc #: 74 Filed: 05/02/23 Page: 14 of 15 PAGEID #: 573




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

                                                  :
 Root, Inc., et al.,                              :    Case No. 2:23-cv-512
                                                  :
                   Plaintiffs,                    :    Judge Sarah D. Morrison
                                                  :
         V.                                       :    Magistrate Judge Chelsey M. Vascura
                                                  :
 Silver, et al.,                                  :
                                                  :
                   Defendants.                    :

                             [PROPOSED] ORDER OF CONTEMPT

        This matter is before the Court on the Motion for Contempt filed by Plaintiffs Root, Inc.,

Caret Holdings, Inc., and Root Insurance Agency, LLC’s (collectively, “Plaintiffs” or “Root”)

against Defendants Brinson Caleb “BC” Silver (“Silver”) and Eclipse Home Design, LLC

(“Eclipse”). (ECF No. __.) On February 27, 2023, the Court entered a Preliminary Injunction

Order against Silver and Eclipse. (ECF No. 42.) Upon receiving Root’s Motion for Contempt,

the Court ordered expedited briefing and held an in-person evidentiary hearing on ______.

        For good cause shown, Root’s Motion for Contempt is GRANTED. The Court ORDERS

as follows:

        1. The Court finds Silver and Eclipse in contempt of the Court’s February 27, 2023

              Preliminary Injunction Order;

        2. The Court appoints __________________________ as the receiver of all monetary and

              real property assets in the possession, custody, or control of Silver, including but not

              limited to the monetary and real property assets of Defendant Collateral Damage, LLC

              and Eclipse;




                                                  14
Case: 2:23-cv-00512-SDM-EPD Doc #: 74 Filed: 05/02/23 Page: 15 of 15 PAGEID #: 574




        3. Silver shall relinquish access and control all of his monetary and real property assets,

           including but not limited to bank accounts, cash, Venmo and PayPal accounts, credit

           and debit cards, investment property, and real property to a court-appointed receiver

           within 7 days of this Order;

        4. Silver shall submit to the Court and/or receiver an accounting of all of his monetary

           and real property assets and accounts, as well as personal assets with values greater

           than $5,000, within 7 days of this Order;

        5. Silver shall submit to the Court and/or receiver an accounting of his monthly mortgage

           payments so the receiver may distribute funds necessary for mortgage payments within

           7 days of this Order;

        6. Silver shall not access or open, or attempt to access or open, any bank accounts, credit

           cards, debit cards, investment property, or other financial accounts;

        7. The receiver shall permit a monthly allowance of $7,500 per month to Silver for day-

           to-day expenses, starting on the date the receiver gains control of all Silver’s assets.

        8. All other funds requested by Silver to the receiver must first be approved by this Court.

        9. Any and all expenses and withdrawals by Eclipse and Collateral Damage must first be

           approved by this Court.

        10. The receiver shall pay Root its reasonable attorneys’ fees and costs connected to the

           Motion for Contempt in amount of $ _______ .

This Order shall remain in effect until further order of this Court.

IT IS SO ORDERED.

Date:                                         __________________________
                                              SARAH D. MORRISON
                                              UNITED STATES DISTRICT JUDGE



                                                 15
